     Case 8:19-cr-00061-JVS Document 851-1 Filed 10/11/21 Page 1 of 74 Page ID #:19524




 1     Michael John Avenatti (Pro Se)
 2
       H. Dean Steward, SBN 85317
 3     17 Corporate Plaza, Suite 254
       Newport Beach, California 92660
 4     Tel (949) 481-4900
       Fax (949) 706-9994
 5     Email: DeanSteward7777@gmail.com
 6
       Advisory Counsel for Defendant
 7     MICHAEL JOHN AVENATTI
 8
 9                             UNITED STATES DISTRICT COURT
10                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
11
       UNITED STATES OF AMERICA,                SA CR No. 19-061-JVS
12
                  Plaintiff,
13
                         v.                     DECLARATION OF MICHAEL JOHN
14                                              AVENATTI IN SUPPORT OF
       MICHAEL JOHN AVENATTI,                   DEFENDANT’S MOTION FOR AN
15
                  Defendant.                    ORDER TO SHOW CAUSE RE CIVIL
16                                              CONTEMPT AND FINDING OF
                                                CONTEMPT; AND MOTION TO
17
                                                COMPEL DISCOVERY
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                                                (Exhibits attached hereto)
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     Case 8:19-cr-00061-JVS Document 851-1 Filed 10/11/21 Page 2 of 74 Page ID #:19525




 1                     DECLARATION OF MICHAEL JOHN AVENATTI
 2
 3           I, Michael John Avenatti, declare as follows:
 4
 5        1. I have knowledge of the facts set forth below. Each of the following statements
 6           are true and correct to the best of my knowledge.
 7
 8        2. I am the defendant in United States v. Michael John Avenatti (CDCA Case No. SA
 9           CR No. 19-061-JVS) and am appearing in this matter pro se. I was previously
10           represented in this case by John Littrell, Esq. and H. Dean Steward, Esq. Mr.
11           Steward presently serves as my advisory counsel. The government was initially
12           represented in this matter by AUSA Brett Sagel and AUSA Julian Andre. AUSA
13           Andre later left the U.S. Attorney’s Office in early 2021 and was replaced with
14           AUSA Alexander Wyman. AUSA Wyman and AUSA Sagel represent the
15           government as of this filing.
16
17        3. Attached hereto as Exhibit A is a true and correct copy of a letter sent from
18           defense counsel H. Dean Steward to AUSA Brett Sagel and AUSA Julian Andre
19           on May 15, 2019.
20
21        4. Attached hereto as Exhibit B is a true and correct copy of a letter sent from
22           defense counsel H. Dean Steward to AUSA Brett Sagel and AUSA Julian Andre
23           on May 22, 2019.
24
25        5. Attached hereto as Exhibit C is a true and correct copy of a letter sent from
26           defense counsel H. Dean Steward to AUSA Brett Sagel and AUSA Julian Andre
27           on June 25, 2019.
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 2        6. Attached hereto as Exhibit D is a true and correct copy of a letter sent from
 3           defense counsel H. Dean Steward to AUSA Brandon D. Fox on February 17,
 4           2021. At the time of this letter, AUSA Fox served as the Chief of the Criminal
 5           Division for the U.S. Attorney’s Office for the Central District of California and
 6           regularly appeared on the filings for the government in this matter. AUSA Brett
 7           Sagel and AUSA Julian Andre were sent a copy of this correspondence on
 8           February 17, 2021.
 9
10        7. Attached hereto as Exhibit E is a true and correct copy of a letter sent to defense
11           counsel H. Dean Steward from AUSA Brett Sagel on March 1, 2021. AUSA
12           Brandon Fox and AUSA Alexander Wyman were also copied on this
13           correspondence.
14
15        8. Attached hereto as Exhibit F is a true and correct copy of a letter sent from
16           defense counsel H. Dean Steward to AUSA Brett Sagel and AUSA Alexander
17           Wyman on April 8, 2021.
18
19        9. Attached hereto as Exhibit G is a true and correct copy of an email sent from
20           AUSA Brett Sagel to defense counsel H. Dean Steward and AUSA Alexander
21           Wyman on April 14, 2021.
22
23        10. Attached hereto as Exhibit H is a true and correct copy of a letter sent from
24           defense counsel H. Dean Steward to AUSA Brett Sagel and AUSA Alexander
25           Wyman on April 15, 2021.
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     Case 8:19-cr-00061-JVS Document 851-1 Filed 10/11/21 Page 4 of 74 Page ID #:19527




 1        11. Attached hereto as Exhibit I is a true and correct copy of an email sent from
 2           AUSA Brett Sagel to defense counsel H. Dean Steward and AUSA Alexander
 3           Wyman on April 21, 2021.
 4
 5        12. Attached hereto as Exhibit J is a true and correct copy of a letter sent from me and
 6           Mr. Steward to AUSA Brett Sagel and AUSA Alexander Wyman on August 26,
 7           2021.
 8
 9        13. Attached hereto as Exhibit K is a true and correct copy of an email sent from
10           AUSA Alexander Wyman to the defense and copied to AUSA Brett Sagel on
11           September 10, 2021.
12
13        14. Attached hereto as Exhibit L is a true and correct copy of an email sent from me
14           and Mr. Steward to AUSA Alexander Wyman and AUSA Brett Sagel on
15           September 10, 2021.
16
17        15. Attached hereto as Exhibit M is a true and correct copy of an email sent from me
18           and Mr. Steward to AUSA Alexander Wyman and AUSA Brett Sagel on
19           September 20, 2021.
20
21        16. Attached hereto as Exhibit N is a true and correct copy of an email sent from me
22           and Mr. Steward to AUSA Alexander Wyman and AUSA Brett Sagel on
23           September 22, 2021.
24
25        17. Attached hereto as Exhibit O is a true and correct copy of an email sent from me
26           and Mr. Steward to AUSA Alexander Wyman and AUSA Brett Sagel on
27           September 29, 2021.
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Case 8:19-cr-00061-JVS Document 851-1 Filed 10/11/21 Page 18 of 74 Page ID #:19541
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Case 8:19-cr-00061-JVS Document 851-1 Filed 10/11/21 Page 27 of 74 Page ID #:19550


                                   United States Department of Justice
                                         United States Attorney’s Office
                                          Central District of California

  BRETT A. SAGEL                                           411 W. 4th Street, Suite 8000
  Phone: (714) 338-3598                                    Santa Ana, California 92701
  E-mail:

 March 1, 2021

 VIA U.S. Mail (with enclosure) and EMAIL (without enclosure)

  H. Dean Steward
  107 Avenida Miramar, Suite C
  San Clemente, California 92672


         Re:     United States v. Michael John Avenatti, SA CR No. 19-061-JVS

 Dear Counsel:

        We are writing in response to your February 17, 2021, letter to this Office’s Criminal
 Division Chief, Brandon D. Fox. As we have previously represented to you, the government is
 aware of its discovery obligations, has complied with them, and will continue to do so. In
 addition to providing your client with discovery to which he is entitled, we have produced
 discovery far in advance of our obligations -- for example, we provided nearly all Jencks
 material in May and June 2019, over two years before the current trial date -- and we have
 voluntarily produced a significant amount of materials in excess of our discovery obligations.
 The government acknowledges the utmost importance of fulfilling its discovery obligations in
 every case, particularly as to Brady material; however, neither Federal Rule of Criminal
 Procedure 5(f) nor the Court’s January 25, 2021, Order (CR 408) expands the government’s
 discovery obligations. Your repeated accusations that the government has withheld discovery
 material are baseless.

        Pursuant to your requests in the letter, enclosed please find additional materials, which
 have been Bates-labeled USAO_01141175-USAO_01141241. These materials are being
 produced subject to the Court’s May 20, 2019, Protective Order. (CR 36.) The government is
 providing these materials to you voluntarily, at your request, even though they either exceed the
 government’s discovery obligations or are being produced far in advance of the government’s
 discovery deadlines.

          The enclosed materials, information, and any future discovery provided to you that may
 exceed the scope of discovery mandated by the Federal Rules of Criminal Procedure, federal
 statute, or relevant case law are provided voluntarily and solely as a matter of discretion. By
 producing such materials and information to you at this time, the government does not waive its
 right to object to any future discovery requests beyond the ambit of its legal obligations and does
 not waive any privileges the government holds.

        Included in the material are criminal history reports regarding the victims listed in the
 indictment as you requested. We previously provided you with all materials in our possession
 regarding any criminal histories of the victims and will run criminal history reports on our
 witnesses prior to trial to ensure that we have complied with our discovery obligations under
 Giglio. At your request, however, we ran these reports now for your convenience, far in advance
 of when any Giglio material is due to be produced. At least with respect to one victim, who is
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 H. Dean Steward
 RE: United States v. Avenatti
 March 1, 2021
 Page 2


 identified in the Indictment as Client 3, your client appears already to have been in possession of
 this information for some time, given that your client spent over a day at his state bar
 proceedings cross-examining Client 3 about his criminal history and the details regarding his
 criminal history. Client 3’s felony conviction was also included in the complaint affidavit (CR 1
 at 5 n.1), which your client received when arrested on March 25, 2019. We have also included
 correspondence and documents we received from James Cameron as well as further
 communications with an employee of GBUS that might not have been previously produced. To
 be clear, these documents are similarly being produced voluntarily at this time as they exceed our
 discovery obligations.

 Please let us know if you have any questions or wish to discuss this matter further.
 Very truly yours,




 BRETT A. SAGEL
 Assistant United States Attorney

 cc:    Assistant United States Attorney Brandon D. Fox
        Assistant United States Attorney Alexander C.K. Wyman

 Enclosure
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Case 8:19-cr-00061-JVS Document 851-1 Filed 10/11/21 Page 51 of 74 Page ID #:19574




                                                August 26, 2021


  Mr. Brett Sagel
  Mr. Alex Wyman
  Assistant U.S. Attorneys
  United States Department of Justice

         Re:     United States v. Avenatti (SA Cr. No. 19-061-JVS)
                 Request for Immediate Compliance with Discovery Obligations

  Dear Mr. Sagel and Mr. Wyman:

         I write to again request that the government immediately produce all materials and
  information required to be produced under Rule 16, the Jencks Act, Rule 26.2, Brady, Giglio,
  Price, Olsen, Bundy, and/or the Court’s January 2021 Order [Dkt. 398].

          As you are aware, the suppression of evidence favorable to an accused is itself sufficient
  to amount to a denial of due process. Brady v. Maryland, 373 U.S. 83, 87 (1963). The
  prosecution’s suppression of evidence that is favorable to the accused “violates due process
  where the evidence is material either to guilt or to punishment, irrespective of good faith or bad
  faith of the prosecution.” Id. at 88. Under Brady, the prosecution is “trusted to turn over evidence
  to the defense because its interest is not that it shall win a case, but that justice shall be done.”
  United States v. Bundy, 968 F.3d 1019, 1023 (9th Cir. 2020) (affirming the district court’s
  dismissal because the government flagrantly disregarded its Brady obligations by failing to
  disclose materials until several days into trial). The term “suppression” does not describe merely
  “overt or purposeful acts on the part of the prosecutor; sins of omission are equally within the
  Brady’s scope.” United States v. Price, 566 F.3d 900, 907 (9th Cir. 2009); citing Benn v.
  Lambert, 283 F.3d 1040, 1053 (9th Cir. 2002) (the terms “suppression,” “withholding” and
  “failure to disclose” have the same meaning for Brady purposes). Further, the prosecution has “a
  duty to learn of any exculpatory evidence known to others acting on the government’s behalf.
  Because the prosecution is in a unique position to obtain information known to other agents of
  the government, it may not be excused from disclosing what it does not know but could have
  learned.” Id. at 909; quoting United States v. Zuno-Acre, 44 F.3d 1420, 1427 (9th Cir. 1997). In
  addition, Giglio materials and information are by their definition Brady. Finally, the Jencks Act
  and Rule 26.2 require all “statements” made, adopted or approved by a government witness be
  produced – this includes all text messages, emails, and attachments.

          In the light of the law in the Ninth Circuit and the Court’s January Order, together with
  the statements made by the Court during Tuesday’s mistrial hearing, each of the following are
  beyond dispute:

         (a) the prosecution team has an affirmative duty to seek out and produce all information
         favorable to the defense, even if such information is in the possession of another “office”
         of the government, this includes the DOJ computer lab in Washington, D.C., the privilege
         review team, and the agents who are part of the investigative team;
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        (b) the production requirement is not limited to that information that the prosecution team
        determines would fully exonerate the defendant – anything favorable to the defense must
        be produced;

        (c) the prosecution team must conduct a diligent and thorough search for responsive
        information and materials – i.e. merely searching for Jencks in the email accounts of two
        AUSAs is woefully insufficient;

        (d) having chosen to seize such a broad and massive amount of information and materials
        in this case, the government is required to search that same information/materials for
        responsive documents; and

        (e) the government is required to produce “all information or evidence known to the
        government that is either: (1) relevant to the defendant’s guilt or punishment; or (2)
        favorable to the defendant on the issue of guilt or punishment.” [Dkt. 408] (emphasis
        added).

         Accordingly, please immediately produce all materials and information required to
  be produced under Rule 16, the Jencks Act, Rule 26.2, Brady, Giglio, Price, Olsen, Bundy,
  and/or the Court’s January 2021 Order [Dkt. 398]. By way of example only, included
  within the materials that must be produced are, at a minimum, the following:

        1. All communications from Mr. John Drum and those acting on his behalf, including
           others at Analysis Group (i.e. Evan Carter). This must include all emails, drafts of
           charts and exhibits, and Powerpoint decks or slides.

        2. All communications sent by Mr. Andrew Stolper to any member of the prosecution or
           investigative team from 2018 to the present.

        3. All documents and emails from the files and/or servers of Eagan Avenatti, LLP (fka
           Eagan O’Malley & Avenatti, LLP) that are in any way responsive to the search
           warrants and/or relate to the five clients identified in the indictment or the finances of
           EA. This includes but is not limited to all emails from current or former EA
           employees and all invoices and bills from third parties relating to the five clients in
           the indictment.

        4. All drives, documents, information and materials provided to Mr. Drum or his
           colleagues in connection with his work in this case. This specifically includes the
           drive he was provided, which he used in connection with his work, and that has never
           been produced to the defense.

        5. All invoices and bills received from Analysis Group or John Drum.
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          Thank you in advance for your prompt attention to this letter and your discovery
  obligations. In light of the impending trial date, it is critical that all information and materials be
  promptly provided to the defense.

         Please note that you may reach me via email sent to Mr. Steward or Ms. Hernandez.

                                         Very truly yours,
                                                /s/
                                         Michael J. Avenatti
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Case 8:19-cr-00061-JVS Document 851-1 Filed 10/11/21 Page 61 of 74 Page ID #:19584
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 1
                                  CERTIFICATE OF SERVICE

 2         I, H. Dean Steward, am a citizen of the United States, and am at least 18 years of
 3
     age. My business address is 17 Corporate Plaza, Suite 254 in Newport Beach, California.
 4
 5   I am not a party to the above-entitled action. I have caused, on October 11, 2021 service

 6   of the:
 7
            DECLARATION OF MICHAEL JOHN AVENATTI IN SUPPORT OF
 8        DEFENDANT’S MOTION FOR AN ORDER TO SHOW CAUSE RE CIVIL
 9       CONTEMPT AND FINDING OF CONTEMPT; AND MOTION TO COMPEL
                               DISCOVERY
10
     on the following party, using the Court’s ECF system:
11
12   AUSA BRETT SAGEL AND AUSA ALEXANDER WYMAN
13
     I declare under penalty of perjury that the foregoing is true and correct.
14
     Executed on October 11, 2021
15
16
                                             /s/ H. Dean Steward
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                                             H. Dean Steward
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